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    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
    333 West Wacker Drive, Suite 2100
    Chicago, Illinois 60606
    (312) 407-0700
    John Wm. Butler, Jr.
    John K. Lyons
    Ron E. Meisler

          - and -

    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
    Four Times Square
    New York, New York 10036
    (212) 735-3000
    Kayalyn A. Marafioti (KM 9632)
    Thomas J. Matz (TM 5986)

    Attorneys for Delphi Corporation, et al.,
    Debtors and Debtors-in-Possession

    Delphi Legal Information Hotline:
    Toll Free: (800) 718-5305
    International: (248) 813-2698

    Delphi Legal Information Website:
    http://www.delphidocket.com

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------ x
                                      :
         In re                        :              Chapter 11
                                      :
    DELPHI CORPORATION, et al.,       :              Case No. 05-44481 (RDD)
                                      :
                              Debtor. :              (Jointly Administered)
                                      :
    ------------------------------ x

          NOTICE OF ASSUMPTION AND/OR ASSIGNMENT OF EXECUTORY
      CONTRACT OR UNEXPIRED LEASE TO PURCHASERS IN CONNECTION WITH
                        SALE OF CATALYST BUSINESS

    PLEASE TAKE NOTICE THAT:

                     1.   Pursuant to the Order Under 11 U.S.C. § 363 And Fed. R. Bankr. P.

    2002 And 9014 (i) Approving Bidding Procedures, (ii) Granting Certain Bid Protections, (iii)

    Approving Form And Manner Of Sale Notices, And (iv) Setting A Sale Hearing (the
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    "Bidding Procedures Order") entered by the United States Bankruptcy Court for the Southern

    District of New York (the "Bankruptcy Court") on June 29, 2007, Delphi Corporation

    ("Delphi") and certain of its affiliates, including certain affiliated chapter 11 Debtors as set

    forth in the Agreement (the "Selling Debtor Entities")1 have entered into a Master Sale And

    Purchase Agreement ("Agreement") with Umicore and certain of its affiliates (the

    "Purchasers") for the purchase of substantially all of the assets exclusively used in the

    catalyst business of Delphi Corporation.

                   2.       Pursuant to the terms of the Agreement and subject to completion of a

    competitive bidding process described in the Bidding Procedures Order and the attachments

    thereto, the Selling Debtor Entities will seek to assume and assign the prepetition contracts

    (the "Assumed Contracts") and assign the postpetition contracts (the "Postpetition Contracts")

    listed on Exhibit 1 hereto to the Purchasers at the hearing to be held at 10:00 a.m. (prevailing

    Eastern time) on August 16, 2007 (the "Sale Hearing") before the Honorable Robert D. Drain,

    United States Bankruptcy Judge, United States Bankruptcy Court for the Southern District of

    New York, One Bowling Green, Room 610, New York, New York 10004.

                   3.       Objections, if any, to the assumption and assignment of an Assumed

    Contract must (a) be in writing, (b) state with specificity the reasons for such objection, (c)

    conform to the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules for the

    Southern District of New York, and the Supplemental Order Under 11 U.S.C. §§ 102(1) and

    105 and Fed. R. Bankr. P. 2002(m), 9006, 9007, and 9014 Establishing (I) Omnibus Hearing

    Dates, (II) Certain Notice, Case Management, and Administrative Procedures, entered March

    20, 2006 (Docket No. 2883) (the "Supplemental Case Management Order") and the Amended

    1
           Under the Agreement, the Selling Debtor Entities include Delphi, Delphi Automotive Systems
           (Holding) Inc., Delphi Automotive Systems LLC, Exhaust Systems Corporation, Environmental
           Catalysts, LLC, Delphi Technologies, Inc., ASEC Manufacturing General Partnership, and ASEC Sales
           General Partnership. Certain assets will be sold under the Agreement by non-debtor affiliates of the
           Selling Debtor Entities listed on Schedule 1 to the Agreement. The Selling Debtor Entities and the
           selling non-Debtor affiliates are collectively referred to as the "Sellers."


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    Eighth Supplemental Order Under 11 U.S.C. §§ 102(1) and 105 and Fed. R. Bankr. P.

    2002(m), 9006, 9007, and 9014 Establishing Omnibus Hearing Dates and Certain Notice,

    Case Management, and Administrative Procedures, entered October 26, 2006 (Docket No.

    5418) (together with the Supplemental Case Management Order, the "Case Management

    Orders"), (d) be filed with the Bankruptcy Court in accordance with General Order M-242 (as

    amended) – registered users of the Bankruptcy Court's case filing system must file

    electronically, and all other parties-in-interest must file on a 3.5 inch disk (preferably in

    Portable Document Format (PDF), WordPerfect, or any other Windows-based word

    processing format), (e) be submitted in hard-copy form directly to the chambers of the

    Honorable Robert D. Drain, United States Bankruptcy Judge, United States Bankruptcy Court

    for the Southern District of New York, One Bowling Green, Room 610, New York, New

    York 10004, and (f) be served in hard-copy form so it is actually received within ten days

    after the date of this Notice upon (i) Delphi Automotive Systems LLC, 5725 Delphi Drive,

    Troy, Michigan 48098 (Att'n: Legal Staff), (ii) Delphi Corporation, 5725 Delphi Drive, Troy,

    Michigan 48098 (Att'n: Deputy General Counsel, Transactions & Restructuring), (iii) counsel

    to the Debtors, Skadden, Arps, Slate, Meagher & Flom LLP, 333 West Wacker Drive, Suite

    2100, Chicago, Illinois 60606 (Att'n: John K. Lyons and Brian M. Fern), (iv) counsel for the

    agent under the postpetition credit facility, Davis Polk & Wardwell, 450 Lexington Avenue,

    New York, New York 10017 (Att'n: Donald Bernstein and Brian Resnick), (v) counsel for the

    official committee of unsecured creditors, Latham & Watkins LLP, 885 Third Avenue, New

    York, New York 10022 (Att'n: Robert J. Rosenberg and Mark A. Broude), (vii) counsel for

    the official committee of equity security holders, Fried, Frank, Harris, Shriver & Jacobson

    LLP, One New York Plaza, New York, New York 10004 (Att'n: Bonnie Steingart), (viii)

    counsel for the Purchasers, Goodwin Procter LLP, 901 New York Avenue, N.W.,

    Washington, DC 20001 (Att'n: J. Hovey Kemp), and (ix) the Office of the United States


                                                     3
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    Trustee for the Southern District of New York, 33 Whitehall Street, Suite 2100, New York,

    New York 10004 (Att'n: Alicia M. Leonhard).

                   4.      If an objection to the assumption and assignment of an Assumed

    Contract is timely filed and received, a hearing with respect to the objection will be held

    before the Honorable Robert D. Drain, United States Bankruptcy Judge, United States

    Bankruptcy Court for the Southern District of New York, One Bowling Green, Room 610,

    New York, New York 10004, at the Sale Hearing or such date and time as the Court may

    schedule. If no objection is timely received, the non-Debtor party to the Assumed Contract

    will be deemed to have consented to the assumption and assignment of the Assumed Contract

    and will be forever barred from asserting any other claims, including, but not limited to, the

    propriety or effectiveness of the assumption and assignment of the Assumed Contract, against

    the Selling Debtor Entities or the Purchasers, or the property of either of them.

                   5.      Pursuant to 11 U.S.C. § 365, there is adequate assurance of future

    performance that the Cure Amount set forth in the Cure Notice will be paid in accordance

    with the terms of the Sale Approval Order. Further, there is adequate assurance of the

    Purchasers' future performance under the executory contract or unexpired lease to be assumed

    and assigned because of the significant resources of the Purchasers.




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                  6.      Prior to the Closing Date, the Selling Debtor Entities may amend their

    decision with respect to the assumption and/or assignment of any Assumed Contract or

    Postpetition Contract and provide a new notice amending the information provided in this

    Notice.

    Dated: New York, New York
           July 5, 2007


                                            SKADDEN, ARPS, SLATE, MEAGHER
                                              & FLOM LLP

                                            By: /s/ John Wm. Butler, Jr.
                                                 John Wm. Butler, Jr. (JB 4711)
                                                 John K. Lyons (JL 4951)
                                                 Ron E. Meisler (RM 3026)
                                             333 West Wacker Drive, Suite 2100
                                             Chicago, Illinois 60606
                                             (312) 407-0700

                                                       - and -

                                            By: /s/ Kayalyn A. Marafioti
                                                 Kayalyn A. Marafioti (KM 9632)
                                                 Thomas J. Matz (TM 5986)
                                             Four Times Square
                                             New York, New York 10036
                                             (212) 735-3000

                                              Attorneys for Delphi Corporation, et al.,
                                               Debtors and Debtors-in-Possession




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City of Tulsa
Rogers County Port Authority
5301 West Channel Road
Tulsa’s Port of Catoosa
Catoosa, OK 74105




               Lease Agreement entered into on the March 15, 1974 by and between the City of
            Tulsa-Rogers County Port Authority and Universal Oil Products Company. December 1,
            1981 Amendment to the Lease Agreement between the City of Tulsa-Rogers County Port
                     Authority and UOP Inc., formerly Universal Oil Products Company.
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UOP LLC
25 E Alogonquin Rd
Des Plaines, IL 60017-5017




               Lease Agreement entered into on the March 15, 1974 by and between the City of
            Tulsa-Rogers County Port Authority and Universal Oil Products Company. December 1,
            1981 Amendment to the Lease Agreement between the City of Tulsa-Rogers County Port
                     Authority and UOP Inc., formerly Universal Oil Products Company.
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UOP LLC
2511 Country Club Blvd
Ste 265
North Orlmsted, OH 44070




              Lease Agreement entered into on the March 15, 1974 by and between the City of
           Tulsa-Rogers County Port Authority and Universal Oil Products Company. December 1,
           1981 Amendment to the Lease Agreement between the City of Tulsa-Rogers County Port
                    Authority and UOP Inc., formerly Universal Oil Products Company.
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UOP LLC
Dept Ch10314
Palatine, IL 60055-0314




               Lease Agreement entered into on the March 15, 1974 by and between the City of
            Tulsa-Rogers County Port Authority and Universal Oil Products Company. December 1,
            1981 Amendment to the Lease Agreement between the City of Tulsa-Rogers County Port
                     Authority and UOP Inc., formerly Universal Oil Products Company.
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City of Tulsa
Rogers County Port Authority
5301 West Channel Road
Tulsa’s Port of Catoosa
Catoosa, OK 74105




                 Lease Agreement entered into on March 15, 1974 by and between the City of
            Tulsa-Rogers County Port Authority and Universal Oil Products Company. December 1,
            1981 Amendment to the Lease Agreement between the City of Tulsa-Rogers County Port
                     Authority and UOP Inc., formerly Universal Oil Products Company.
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UOP LLC
25 E Alogonquin Rd
Des Plaines, IL 60117-5017




                 Lease Agreement entered into on March 15, 1974 by and between the City of
            Tulsa-Rogers County Port Authority and Universal Oil Products Company. December 1,
            1981 Amendment to the Lease Agreement between the City of Tulsa-Rogers County Port
                     Authority and UOP Inc., formerly Universal Oil Products Company.
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UOP LLC
2511 Country Club Blvd
Ste 265
North Orlmsted, OH 44070




                Lease Agreement entered into on March 15, 1974 by and between the City of
           Tulsa-Rogers County Port Authority and Universal Oil Products Company. December 1,
           1981 Amendment to the Lease Agreement between the City of Tulsa-Rogers County Port
                    Authority and UOP Inc., formerly Universal Oil Products Company.
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UOP LLC
Dept Ch10314
Palatine, IL 60055-0314




                 Lease Agreement entered into on March 15, 1974 by and between the City of
            Tulsa-Rogers County Port Authority and Universal Oil Products Company. December 1,
            1981 Amendment to the Lease Agreement between the City of Tulsa-Rogers County Port
                     Authority and UOP Inc., formerly Universal Oil Products Company.
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First American Capital Mgmt Group
527 Marquette Ave. South
1600 Rand Tower
Minneapolis, MN 55402




                                    Purchase Order No. M29398
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First American Capital Mgmt Group
527 Marquette Ave. South
1600 Rand Tower
Minneapolis, MN 55402




                                     Purchase Order No. 12999
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First American Capital Mgmt Group
527 Marquette Ave. South
1600 Rand Tower
Minneapolis, MN 55402




                                     Purchase Order No. 12834
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First American Capital Mgmt Group
527 Marquette Ave. South
1600 Rand Tower
Minneapolis, MN 55402




                                     Purchase Order No. 15588
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First American Capital Mgmt Group
527 Marquette Ave. South
1600 Rand Tower
Minneapolis, MN 55402




                                     Purchase Order No. 12559
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QEK Global Solutions (US) Inc.
Cindy Vest
6001 N. Adams Rd. Ste. 100
Bloomfield Hills, MI 48304




                                       Leased VEL Test Vehicles
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Tiense Suikerraffinaderij
Aandorenstraat 1
Tienen, 3300
Belgium




                 Confidentiality Agreement by and between Tiense Suikerraffinaderij and Delphi
                                  Automotive Systems dated October 14, 2002
 05-44481-rdd     Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48            Main Document
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Eversharp Tool Inc
11350 E 60th Pl
Tulsa, OK 74146-6817




           Delphi Automotive Systems Confidentiality Agreement with Eversharp Tool, Ind. Dated
                                               4/30/2003
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Johnson Matthey Inc
88 Dong Xing Road
Song Jiang Industrial Zone
Shanghai, 201613
China




               Johnson Matthey Confidentiality Agreement effective August 27, 2002 with Delphi
                                         Automotive Systems LLC
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Johnson Matthey Alfa Aesar
30 Bond St
Ward Hill, MA 01835-8099




              Johnson Matthey Confidentiality Agreement effective August 27, 2002 with Delphi
                                        Automotive Systems LLC
 05-44481-rdd     Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48              Main Document
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Johnson Matthey Inc
PO Box 88848
Dept 110
Chicago, IL 60695-1848




              Johnson Matthey Confidentiality Agreement effective August 27, 2002 with Delphi
                                        Automotive Systems LLC
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Johnson Matthey Plc
Precious Metals Marketing Division
2001 Nolte Dr
Dept 310
Chicago, IL 60695-1877




              Johnson Matthey Confidentiality Agreement effective August 27, 2002 with Delphi
                                        Automotive Systems LLC
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Mark Kennon
5401 S. Sheridon
Tulsa, OK 74145




              Delphi Automotive Systems Confidentiality Agreement with Applied Controls Corp.
                                             dated 6/30/2002
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A&B Process Systems, Corp.
201 S. Wisconsin Avenue
Stratford, WI 54484




           Delphi Automotive Systems Confidentiality Agreement with A&B Process Systems dated
                                               5/23/2002
 05-44481-rdd      Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Barton Construction Co Inc
2702 E N Sheridan
Tulsa, OK 74115-2321




            Delphi Automotive Systems Confidentiality Agreement with Barton Construction dated
                                               5/24/2002
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Ed Wallace
2205 E.L. Anderson Blvd
Claremore, OK 74017




             Delphi Automotive Systems Confidentiality Agreement with Blackmer/Tarby Pumps
                                            dated 3/21/2002
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Chemineer, Inc
Al Harold
5870 Poe Avenue
Dayton OH 45414




            Delphi Automotive Systems Confidentiality Agreement with Chemineer, Inc. dated
                                             2/6/2002
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Draiswerke Inc
40 Whitney Road
Mahwah, NJ 07430




            Delphi Automotive Systems Confidentiality Agreement with Draiawerke, Inc. dated
                                             3/25/2002
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Industrial Equipment & Design Company
110 American Blvd., Suite 1
Turnersville, NJ 08012




             Delphi Automotive Systems Confidentiality Agreement with Industrial Equipment &
                                    Design Company dated 3/6/2002
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Tom Darter
16116 University Oak
San Antonio, TX 78249




               Delphi Automotive Systems Confidentiality Agreement with Jet Specialty dated
                                              5/22/2002
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Brenda Harris
105 Temperature Lane
Statesville, NC 28677




             Delphi Automotive Systems Confidentiality Agreement with JMS Southeast Inc. dated
                                                6/4/2002
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Rodney Schilt
2700 N. Hemlock Ct. St. 1108
Broken Arrrow, OK 74012




            Delphi Automotive Systems Confidentiality Agreement with Joe Mayfield Construction
                                        Co. Inc. dated 6/3/2002
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K-tron America
Routes 55 & 553
Pitman, NJ 08071




            Delphi Automotive Systems Confidentiality Agreement with K-tron America/Pathfinder
                                       Systems, Inc. dated 6/7/2002
 05-44481-rdd      Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Pathfinder Systems, Inc.
200 Union Blvd., Suite 300
Lakewood, CO 80228-1831




            Delphi Automotive Systems Confidentiality Agreement with K-tron America/Pathfinder
                                       Systems, Inc. dated 6/7/2002
 05-44481-rdd      Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48           Main Document
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Bill Tuggle
2241 East Skelly Drive St.5
Tulsa, OK 74105




            Delphi Automotive Systems Confidentiality Agreement with Master Pumps & Equipment
                                          Corp. dated 3/22/2002
 05-44481-rdd    Doc 8487       Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Barton Construction
2702 E N Sheridan
Tulsa, OK 74115-2321




           Delphi Automotive Systems Confidentiality Agreement with Michael F. Henry P.E. Inc.
                                           dated 10/2/2002
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Steve Bartmier
9764 E. 55th Pl.
Tulsa, OK 74146




            Delphi Automotive Systems Confidentiality Agreement with North East Ok Mfg. dated
                                              10/25/2002
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ORAFTI
Aandorenstraat 1
Tienen, 3300
Belgium




            Delphi Automotive Systems Confidentiality Agreement with ORAFTI dated 10/14/2002
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Pattison Precision
Raymond Pattison
701 North 15th Street
Broken Arrow, OK 74012




            Delphi Automotive Systems Confidentiality Agreement with Pattison Precision dated
                                             10/25/2002
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Vanco Engineering Co
7033 E 40th
Tulsa, OK 74145




              Delphi Automotive Systems Confidentiality Agreement with Philadelphia Mixer
                                    Company, Inc. dated 3/12/2002
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Philadelphia Mixer Company
PO Box 8500 2180
Philadelphia, PA 19178-2180




               Delphi Automotive Systems Confidentiality Agreement with Philadelphia Mixer
                                     Company, Inc. dated 3/12/2002
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Premier Mill
1 Birchmont Drive
Reading, PA 19606-3298




                 Delphi Automotive Systems Confidentiality Agreement with Premier Mill
                                          dated 3/22/2002
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PSI Water Systems, Inc.
97 Eddy Rd. Unit 6
Manchester, NH 03102




             Delphi Automotive Systems Confidentiality Agreement with PSI Water Systems, Inc.
                                            dated 7/17/2002
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Rosemount Inc.
12001 Technology Dr Ab03
Eden Prairie, MN 55344




             Delphi Automotive Systems Confidentiality Agreement with Rossmount Inc. dated
                                             10/29/2002
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SealMaster, Inc.
368 Martinel Dr
Kent, OH 44240-4368




             Delphi Automotive Systems Confidentiality Agreement with SealMaster, Inc. dated
                                              8/3/2002
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Seltech, Inc
5321 S Sheridan Rd Ste 31
Tulsa, OK 74153




            Delphi Automotive Systems Confidentiality Agreement with Seltech, Inc. dated 6/5/2002
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Ron Bridie
12211 E. 51st Street
Tulsa, OK 74146




              Delphi Automotive Systems Confidentiality Agreement with Vinson Process Controls
                                             dated 10/29/2002
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Gary Martin
415 E. Houston
Broken Arrow, OK 74012




          Delphi Automotive Systems Confidentiality Agreement with Werco Inc. dated 10/25/2002
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Young Industries
PO Box 30
Muncy, PA 17756-0030




            Delphi Automotive Systems Confidentiality Agreement with Young Industries dated
                                             11/1/2002
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Detroit Diesel Corporation
13400 Outer Drive West
Detroit, MI 48239




            Agreement between Detroit Diesel Corporation and Delphi Energy & Engine Management
                       Systems division of General Motors Corporation dated 3/20/1996
 05-44481-rdd      Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Anckelmannsplatz
1 Hamburg
Hamburg D 20537
Germany




           Confidentiality Agreement between Delphi Catalysts, Sasol Olefins & Surfactants GmbH
                                 & Co. KG and Daichi dated May 7, 2004
 05-44481-rdd    Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Magnesium Elektron Ltd.
Lums Lane
Clifton Junction
Swinton Manchester M27 8LS
England




              Confidential Information Agreement made and effective as of April 1, 2005 by
             and between Magnesium Elektron Ltd. and Magnesium Electron Inc. and Delphi
           Corporation through its affiliates ASEC Manufacturing General Partnership and ASEC
                                           Sales General Partnership
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Magnesium Electron Inc.
500 Point Breeze Road
Flemington, NJ 0882




              Confidential Information Agreement made and effective as of April 1, 2005 by
              and between Magnesium Elektron Ltd. and Magnesium Electron Inc. and Delphi
            Corporation through its affiliates ASEC Manufacturing General Partnership and ASEC
                                            Sales General Partnership
 05-44481-rdd    Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48            Main Document
                                        Pg 57 of 204




Grace Davison
7500 Grace Drive
Columbia, MD 21044-4098




            Confidential Information Agreement between Grace Davison and Delphi Energy and
                     Chassis Systems, a division of Delphi Automotive Systems LLC
 05-44481-rdd      Doc 8487        Filed 07/06/07 Entered 07/06/07 15:40:48           Main Document
                                             Pg 58 of 204




Rhodia Electronics and Catalysis
26 rue Chef de Baie
La Rochelle, 17000
France




                  Confidential Information Agreement made and effective as of April 6, 2005 by
                and between Rhodia Electronics and Catalysis and Delphi Corporation through its
            affiliates ASEC Manufacturing General Partnership and ASEC Sales General Partnership
 05-44481-rdd      Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Rhodia E&C Inc.
259 Prospect Plains Road
Cranbury, NJ 08512




                  Confidential Information Agreement made and effective as of April 6, 2005 by
                and between Rhodia Electronics and Catalysis and Delphi Corporation through its
            affiliates ASEC Manufacturing General Partnership and ASEC Sales General Partnership
 05-44481-rdd      Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
                                           Pg 60 of 204




Sojitz Corporation of America
1211 Avenue of the Americas
New York, NY 10036




                  Confidential Information Agreement made and effective as of January 1, 2005
               by and between Sojitz Corporation of America, NN Chemical Corporation, Daiichi
                        Kigenso Kagaku Kogyo Company, Ltd. and Delphi Corporation
 05-44481-rdd    Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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NN Chemical Corporation
Roppongi 25 Mori Bldg.
4-30 Roppongi 1-chome
Minato-ku Tokyo 106-0032
Japan




               Confidential Information Agreement made and effective as of January 1, 2005
             by and between Sojitz Corporation of America, NN Chemical Corporation, Daiichi
                      Kigenso Kagaku Kogyo Company, Ltd. and Delphi Corporation
 05-44481-rdd     Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
                                          Pg 62 of 204




Daiichi Kigenso Kagaku Kogyo Company, Ltd.
6-38 Hirabayashi Minami 1-Chome
Suminoe-ku Osaka 559-0025
Japan




                Confidential Information Agreement made and effective as of January 1, 2005
              by and between Sojitz Corporation of America, NN Chemical Corporation, Daiichi
                       Kigenso Kagaku Kogyo Company, Ltd. and Delphi Corporation
 05-44481-rdd      Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48               Main Document
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AirFlow Catalyst Systems
183 E. Main Street
Suite 925
Rochester, NY 14604




                   Confidential Information Agreement between AirFlow Catalyst Systems and
             Delphi Corporation (along with its affiliates ASEC Manufacturing General Partnership
                       and ASEC Sales General Partnership) effective January 1, 2006
 05-44481-rdd        Doc 8487    Filed 07/06/07 Entered 07/06/07 15:40:48              Main Document
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Nanox Inc
4975 Rideau Street
Quebec, QC
Canada




                 Confidential Information Agreement Nanox, Inc. and Delphi Corporation (along
              with its affiliates ASEC Manufacturing General Partnership and ASEC Sales General
                                       Partnership) dated October 1, 2005
 05-44481-rdd    Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48              Main Document
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Nippon Light Metal Company Limited
2-20 Higashi-Shinagawa 2 chome
Shinagawa-ku Tokyo 140-8628
Japan




             Non-Disclosure Agreement between Nippon Light Metal Company, Limited, ASEC
             Manufacturing General Partnership and ASEC Sales General Partnership and Sojitz
                             Corporation of America dated January 26, 2007
 05-44481-rdd    Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48              Main Document
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Sojitz Corporation
1-20 Akasaka 6-chome
Minato-ku Tokyo 107-8655
Japan




             Non-Disclosure Agreement between Nippon Light Metal Company, Limited, ASEC
             Manufacturing General Partnership and ASEC Sales General Partnership and Sojitz
                             Corporation of America dated January 26, 2007
 05-44481-rdd      Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48              Main Document
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Sojitz Corporation of America
1211 Avenue of Americas
New York, NY 10036




              Non-Disclosure Agreement between Nippon Light Metal Company, Limited, ASEC
              Manufacturing General Partnership and ASEC Sales General Partnership and Sojitz
                              Corporation of America dated January 26, 2007
 05-44481-rdd      Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Norit Americas
3200 University Ave
PO Box 790
Marshall, TX 75670




                 Confidential Information Agreement between Norit Americas, Inc. and Delphi
           Corporation (along with its affiliates ASEC Manufacturing General Partnership and ASEC
                              Sales General Partnership) effective June 22, 2006
 05-44481-rdd       Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Performance Industries
20 Lake Marian
Carpentersville, IL 60102




                Proprietary Information Agreement between Performance Industries and Delphi
            Corporation (along with its affiliates ASEC Manufacturing General Partnership and ASEC
                              Sales General Partnership) effective January 1, 2006
 05-44481-rdd      Doc 8487       Filed 07/06/07 Entered 07/06/07 15:40:48              Main Document
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Pacific Industrial Development Corp.
4788 Runway Blvd.
Ann Arbor, MI 48108




                  Confidential Information Agreement between Pacific Industrial Development
              Corp. and Delphi Corporation (along with its affiliates ASEC Manufacturing General
                 Partnership and ASEC Sales General Partnership) effective November 2, 2005
 05-44481-rdd     Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Sud-Chemie AG Waldheimer
Str. 15 Heufeld
Bayern, 80352
Germany




          Proprietary Information Agreement between Sud-Chemie AG Waldheimer Str. and Delphi
          Corporation (along with its affiliates ASEC Manufacturing General Partnership and ASEC
                            Sales General Partnership) effective October 1, 2005
 05-44481-rdd     Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Tosoh Corporation
3-8-2, Shiba
Minato-Ku Tokyo 105-8623
Japan




                 Confidential Information Agreement between Tosoh Corporation and Delphi
          Corporation (along with its affiliates ASEC Manufacturing General Partnership and ASEC
                              Sales General Partnership) effective May 1, 2005
 05-44481-rdd      Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48               Main Document
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AlliedSignal, Inc.
101 Columbia Road
Morristown, NJ 07960




             Purchase and Sale Agreement among General Motors Corporation, Exhaust Systems
            Corporation, Environmental Catalysts, LLC, AlliedSignal Environmental Catalysts, Inc.
                                 and Allied Signal, Inc. dated June 22, 1998
 05-44481-rdd      Doc 8487        Filed 07/06/07 Entered 07/06/07 15:40:48            Main Document
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Varroc Exhaust Systems Pvt. Ltd.
E-4, MIDC, Waluj
Aurangabad Maharashtra 431136
India




              Technology License Agreement between Varroc Exhaust Systems Pvt. Ltd. and DTI
              Dated May 12, 2005. First Amendment Deed to The Technology License Agreement
            dated July 15, 2006 between Varroc Exhaust Systems Pvt. Ltd. and Delphi Technologies,
                                                    Inc.
 05-44481-rdd      Doc 8487        Filed 07/06/07 Entered 07/06/07 15:40:48          Main Document
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Varroc Exhaust Systems Pvt. Ltd.
E-4, MIDC, Waluj
Aurangabad Maharashtra 431136
India




              DAS Technical Assistance Agreement dated May 12, 2005 between Varroc Exhaust
               Systems Pvt. Ltd. and Delphi Automotive Systems LLC dated May 12, 2005. First
              Amendment Deed to The DAS Technical Assistance Agreement dated July 15, 2006
               between Varroc Exhaust Systems Pvt. Ltd. and Delphi Automotive Systems, LLC
 05-44481-rdd      Doc 8487        Filed 07/06/07 Entered 07/06/07 15:40:48          Main Document
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Varroc Exhaust Systems Pvt. Ltd.
E-4, MIDC, Waluj
Aurangabad Maharashtra 431136
India




             Technical Efficiency Services Agreement dated May 12, 2005 between Varroc Exhaust
               Systems Pvt. Ltd. and Delphi Automotive Systems LLC dated May 12, 2005. First
             Amendment Deed to The Technical Efficiency Services Agreement dated July 15, 2006
               between Varroc Exhaust Systems Pvt. Ltd. and Delphi Automotive Systems, LLC
 05-44481-rdd       Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Boreskov Institute of Catalysis
5 Lavrentieva Avenue
Novosibirsk, 630090
Russia




              Research Agreement No. 00274-03 between Boreskov Institute of Catalysis and ASEC
                 Manufacturing, Delphi Energy & Chassis Systems dated October 23, 2000. First
              Amendment to Research Agreement #00274-03 of October 23, 2000 between Boreskov
             Institute of Catalysis and ASEC Manufacturing, Delphi Energy & Chassis Systems dated
             September 21, 2001. Second Amendment to Research Agreement #00274-03 of October
                23, 2000 between Boreskov Institute of Catalysis and ASEC Manufacturing, Delphi
                  Energy & Chassis Systems dated July 15, 2002. Third Amendment to Research
              Agreement #00274-03 of October 23, 2000 between Boreskov Institute of Catalysis and
               ASEC Manufacturing, Delphi Energy & Chassis Systems dated July 15, 2002. Fourth
              Amendment to Research Agreement #00274-03 of October 23, 2000 between Boreskov
             Institute of Catalysis and ASEC Manufacturing, Delphi Energy & Chassis Systems dated
            November 15, 2002. Fifth Amendment to Research Agreement #00274-03 of October 23,
            2000 between Boreskov Institute of Catalysis and ASEC Manufacturing, Delphi Energy &
                 Chassis Systems dated March 3, 2003. Sixth Amendment to Research Agreement
                #00274-03 of October 23, 2000 between Boreskov Institute of Catalysis and ASEC
                 Manufacturing, Delphi Energy & Chassis Systems dated June 17, 2003. Seventh
              Amendment to Research Agreement #00274-03 of October 23, 2000 between Boreskov
             Institute of Catalysis and ASEC Manufacturing, Delphi Energy & Chassis Systems dated
               April 7, 2004. Eighth Amendment to Research Agreement #00274-03 of October 23,
            2000 between Boreskov Institute of Catalysis and ASEC Manufacturing, Delphi Energy &
               Chassis Systems dated January 26, 2004. Ninth Amendment to Research Agreement
                #00274-03 of October 23, 2000 between Boreskov Institute of Catalysis and ASEC
                  Manufacturing, Delphi Energy & Chassis Systems dated March 24, 2005. Tenth
               Amendment. Eleventh Amendment to Research Agreement #00274-03 of October 23,
              2000 between Boreskov Institute of Catalysis and ASEC Manufacturing, Delphi Energy
                                   and Chassis Systems dated December 11, 2006.
 05-44481-rdd      Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48          Main Document
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Martin Marietta Energy Systems, Inc.
PO Box 2009
Oak Ridge, TN 37831-8242




             Stevenson-Wydler Cooperative Research and Development Agreement between Martin
                  Marietta Energy Systems, Inc. and General Motors AC Rochester dated 1993
 05-44481-rdd       Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Boreskov Institute of Catalysis
5 Lavrentieva Avenue
Novosibirsk, 630090
Russia




                Service Agreement 04354-07 between Boreskov Institute of Catalysis and Delphi
                                           Automotive Systems
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Boreskov Institute of Catalysis
5 Lavrentieva Avenue
Novosibirsk, 630090
Russia




                Service Agreement 02327-07 between Boreskov Institute of Catalysis and Delphi
                                           Automotive Systems
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Lehigh University
Research Accounting
526 Brodhead Ave
Bethlehem, PA 18015




              Academic Partnerships Master Agreement between LeHigh University and Delphi
               Automotive Corporation, LLC signed August 30, 2002 and September 4, 2002
 05-44481-rdd      Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48            Main Document
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Office of Research Services
Ann Powell
University of New Mexico
Scholes Hall, RM 102
Albuquerque, NM 87131




            University of New Mexico Industrial Sponsored Research Agreement between Delphi and
                       the Regents of the University of New Mexico dated March 1, 2005
 05-44481-rdd      Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48             Main Document
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Metropolitan Life Insurance Company
Attention: Robert C. Love, Vice President
25300 Telegraph Road, Suite 580
Southfield, MI 48034




              Dental Care Benefits Administrative Services Agreement between Metropolitan Life
              Insurance Company and ASEC Manufacturing Company, effective January 1, 2001
 05-44481-rdd    Doc 8487   Filed 07/06/07 Entered 07/06/07 15:40:48   Main Document
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Software Spectrum
22721 E Mission
Liberty Lake, WA 99019




                                  Purchase Order No. 21967
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Epicor Software Corporation
18200 Von Karman
Suite #1000
Irvine, CA 92612




                                    Purchase Order No. 21893
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Lester Associates Inc.
383 Main St Ste 202
PO Box 354
Chatham, NJ 07928-2100




                                  Purchase Order No. 19513
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David A Matthews
1317 S 77th E Ave
Tulsa, OK 74112




                                     Purchase Order No. 21083
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PC Computers & Software Inc
8125-G E 51st St
Tulsa, OK 74145




                                    Purchase Order No. 20469
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Hewlett-Packard Company
MS 5518
8000 Foothills Blvd
Roseville, CA 95747




                                  Purchase Order No. 22120
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Inventory Limited
2 Lansdowne Crescent
Suite 240 Bournemouth BH1 1SA
United Kingdom




                                      Purchase Order No. 20991
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L.I.M.S. (USA), Inc.
4000 Hollywood Blvd
Ste. 730N
Hollywood, FL 33021




                                   Purchase Order No. 21768
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Micro-Tel Center
3700 Holcomb Bridge Rd.
Norcross, GA 30092




                                  Purchase Order No. 21685
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Black Box Network Services
(Frmly Norstan)
SDS 12-0976
PO Box 86
Minneapolis, MN 55486-0976




                                   Purchase Order No. 21885
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Radley Corporation
23077 Greenfield
Ste. 440
Southfield, MI 48075




                                   Purchase Order No. 17677
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Sebring Systems Technologies, Inc.
9726 East 42nd Street
Suite 201
Tulsa, OK 74146




            Sebring Systems Technologies Inc. Client Service Agreement; Client Service Agreement
                                            dated June 4, 2001.
 05-44481-rdd     Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48        Main Document
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McDonnell Information Systems Incorporated
5310 Beethoven Street
Los Angeles, CA 90066




              Agreement between ASEC and MDIS - CHESS Agreement #2427 dated 9/29/1995
 05-44481-rdd    Doc 8487   Filed 07/06/07 Entered 07/06/07 15:40:48   Main Document
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Software Spectrum
22721 E Mission
Liberty Lake, WA 99019




                                  Purchase Order No. 21771
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Dell
Edward Spater
One Dell Way
Round Rock, TX 78682




                             ASEC - Dell Server Support Agreement
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David Milum II
dba Tri-Pro Consulting
202-B Pringle Circle
Green Cove Springs, FL 32043




                               Purchase Order Nos. 20655, 20656 and 22127
 05-44481-rdd     Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48            Main Document
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Prime Systems Incorporated
32915 Aurora Rd.
Suite 100
Solon, OH 44139




                      ASEC & PRIME (Software License agreement) dated 09/16/1996
 05-44481-rdd    Doc 8487   Filed 07/06/07 Entered 07/06/07 15:40:48   Main Document
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Shainin LLC
3115 T Avenue
Anacortes, WA 98221




                                  Purchase Order No. 19545
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Software Spectrum
22721 E Mission
Liberty Lake, WA 99019




                                  Purchase Order No. 19151
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Telnet Software
PO Box 2008
MS 6294
Oak Ridge, TN 37831




                                  Purchase Order No. 19151
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Software Spectrum
3480 Lotus Drive
Plano, TX 75075




                                    Purchase Order No. 2 21799
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Dell Computer
One Dell Way
Round Rock, TX 78682




                                  Purchase Order No. 18444
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Dell Computer
One Dell Way
Round Rock, TX 78682




                                  Purchase Order No. 18796
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Dell Computer
One Dell Way
Round Rock, TX 78682




                                 Purchase Order No. 181838
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Dell Computer
One Dell Way
Round Rock, TX 78682




                                  Purchase Order No. 17075
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PC Computers & Software Inc
8125-G E 51st St
Tulsa, OK 74145




                                    Purchase Order No. 20621
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National Instruments
11500 N. Mopac Expwy
Bldg. A
Austin, TX 78759-3504




                                  Purchase Order No. 21800
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CDW
200 N. Milwaukee Avenue
Vernon Hills, IL 60061




                                  Purchase Order No. 17068
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Software Spectrum
3480 Lotus Drive
Plano, TX 75075




                                     Purchase Order No. 21798
 05-44481-rdd     Doc 8487    Filed 07/06/07 Entered 07/06/07 15:40:48        Main Document
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Daimlerchrysler Corporation
Attn Nancy Broyles
Cims 484 04 10
800 Chrysler Dr
Auburn Hills, MI 48326-2757




               Purchase Order Nos. O4559089, O4559090, O4559074, O5559316, O4559076,
              O5559311, O5559004, O4559075, O4559074, O7559025, O7559032, O7559027,
                   O5559304, O6559025, O5559310, O7559026, O5559309, O8559030
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General Motors Corporation
Powertrain Division
777 Joslyn Ave
Pontiac, MI 48348




              Purchase Order Nos. 550015396, 550014835, 550016206, 550060257, 550060259,
             550055386, 550055387, 550063956, 550063957, 550060416, 550059663, 550059665,
                                         550077234, 550014714
 05-44481-rdd     Doc 8487   Filed 07/06/07 Entered 07/06/07 15:40:48   Main Document
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Benteler Automotive
320 Hall St Sw
Grand Rapids, MI 49507




                                 Purchase Order No. 5500001765
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Engine Control Systems Ltd
165 Pony Dr
Newmarket, ON L3Y7V1
Canada




                  Supply Agreement between Engine Control Systems, Ltd. and ASEC Sales
 05-44481-rdd     Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48              Main Document
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General Motors Corporation
GM Euro Metals
Russelsheim, D-65423
Germany




               Consignment Agreement for Platinum Group Metal between GMC and ASEC
             Manufacturing Sales (Pty) Ltd. owned by Delphi Automotive Systems (Holding), Inc.
                                            dated January 31, 2001
 05-44481-rdd     Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48         Main Document
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General Motors Corporation
GM Euro Metals
Russelsheim, D-65424
Germany




                 Consignment Agreement for Platinum Group Metals between GM and ASEC
                                 Manufacturing Sales SAS dated 3/30/01
 05-44481-rdd     Doc 8487       Filed 07/06/07 Entered 07/06/07 15:40:48          Main Document
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Chrysler Corp.
Mr. Lawrence R. Biskner
Manufacturing Group Accounting
7150 Metropolitan Pkwy
Sterling Heights MI 48312




           Noble Metal Stock Account Agreement between DaimlerChrysler Corporation and Delphi
                                        Automotive Systems LLC
 05-44481-rdd    Doc 8487       Filed 07/06/07 Entered 07/06/07 15:40:48               Main Document
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Mitsubishi Corporation
6-3, Marunouchi 2-Chome
Chiyoda-Ku Tokyo 100-86
Japan




             Noble Metal Stock Account Agreement between Allied-Signal Automotive Catalyst
            Company, a division of Allied-Signal Inc. and Mitsubishi Corporation dated 7/1/1990
 05-44481-rdd     Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48           Main Document
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Maybee and Associates
Mr. Don Maybee
7015 Fieldcrest Rd.
Brighton, MI 48116




            Sales Representative Agreement between Delphi Automotive Systems LLC and Tawas
                            Industries Components, Inc. dated December 7, 2005
 05-44481-rdd     Doc 8487   Filed 07/06/07 Entered 07/06/07 15:40:48   Main Document
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Heraeus Chemicals Sa Pty
PO Box 1987
Port Elizabeth, 6000
South Africa




                                   Purchase Order No. 50112
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Heraeus Metal Processing Inc
c/o Jason J Dejonker Esq
Mcdermott Will & Emery Llp
227 W Monroe St
Chicago, IL 60606-5096




                                     Purchase Order No. 50112
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Heraeus Metals Processing
PO Box 910468
Dallas, TX 75391-0468




                                   Purchase Order No. 50112
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Heraeus Metals Processing Inc
Formerly PGP Industries
13429 Alondra Blvd
Santa Fe, CA 90670




                                      Purchase Order No. 50112
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Heraeus Precious Metals Management LLC
540 Madison Avenu
New York, NY 10022




                                    Purchase Order No. 50112
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Brenntag Southwest Inc
206 E Morrow
Sand Springs, OK 74063




                                   Contract Order No. 50195
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Brenntag Southwest Inc
PO Box 970230
Dallas, TX 75397-0230




                                   Contract Order No. 50195
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Umicore Marketing Services
3120 Highwoods Blvd Ste 110
Raleigh, NC 27604




                                    Purchase Order No. 50207
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Harcros Chemicals Inc
3810 S Elwood Ave
Tulsa, OK 74107




                                   Contract Order No. 50210
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Harcros Chemicals Inc
5200 Speaker Rd
Kansas City, KS 66106




                                   Contract Order No. 50210
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Harcros Chemicals Inc
PO Box 74583 Br 0006
Chicago, IL 60690




                                   Contract Order No. 50210
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C & L Development Corporation
12930 Saratoga Ave Ste D6
Saratoga, CA 95070




                                      Contract Order No. 50212
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Sojitz Corporation Of America
1211 Ave Of The Americas
New York, NY 10036




                                      Contract Order No. 50213
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Sojitz Corporation Of America
PO Box 360913m
Pittsburgh, PA 15251




                                      Contract Order No. 50213
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Grace Davison
4127 Collections Ctr Dr
Chicago, IL 60693




                                    Contract Order No. 50214
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Grace Davison
PO Box 75147
Charlotte, NC 28275




                                   Contract Order No. 50214
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Grace Davison W R Grace & Co Conn
Attn Manager Credit & Collections
7500 Grace Dr
Columbia, MD 21044




                                    Contract Order No. 50214
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UOP LLC
25 E Alogonquin Rd
Des Plaines, IL 60017-5017




                                   Contract Order No. 50215
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UOP LLC
2511 Country Club Blvd
Ste 265
North Orlmsted, OH 44070




                                  Contract Order No. 50215
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UOP LLC
Dept Ch10314
Palatine, IL 60055-0314




                                    Contract Order No. 50215
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OMG Americas Inc
811 Sharon Dr
Westlake, OH 44145-1522




                                  Contract Order No. 50216
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OMG Americas Inc
PO Box 6066n
Cleveland, OH 44193




                                  Contract Order No. 50216
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Magnesium Elektron Inc
C O Jerrold S Kulback Esq
Archer & Greiner Pc
One Centennial Sq
Haddonfield, NJ 08033




                                   Contract Order No. 50217
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Magnesium Elektron Inc
500 Point Breeze Rd
Flemington, NJ 08822-9111




                                   Contract Order No. 50217
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Magnesium Elektron Inc
PO Box 8500 2480
Philadelphia, PA 19178-2480




                                    Contract Order No. 50217
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Cimbar Performance Minerals
25 Old River Rd Se
Cartersville, GA 30120




                                    Contract Order No. 50218
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Cimbar Performance Minerals
Lockbox 577
Carolstream, IL 60132-0577




                                    Contract Order No. 50218
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Cimbar Performance Minerals
1212 Ave Of The Americas
New York, NY 10036-1689




                                    Contract Order No. 50218
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Cimbar Performance Minerals
K W Zank Trust Div A C5115114
Detroit, MI 48226




                                      Contract Order No. 50218
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Hercules Incorporated
Aqualon Division
Hercules Plz
1313 N Market St
Wilmington, DE 19894-0001




                                  Contract Order No. 50221
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Hercules Incorporated
Aqualon Division
Hercules Plz
Wilmington, DE 19894-0001




                                  Contract Order No. 50221
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Hercules Incorporated
PO Box 846046
Dallas, TX 75284-6046




                                   Contract Order No. 50221
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Nyacol Nano Technologies Inc
Megunko Rd
PO Box 349
Ashland, MA 01721-0349




                                     Contract Order No. 50219
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Nyacol Nano Technologies Inc
PO Box 847928
Boston, MA 02284-7928




                                     Contract Order No. 50219
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Sachem
PO Box 915043
Dallas, TX 75391-5043




                                   Contract Order No. 50222
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Sachem Inc
821 E Woodward St
Austin, TX 74704-7418




                                  Contract Order No. 50222
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Tosoh Usa Inc
Attn Finance Dept Pam Schmittler
3600 Gantz Rd
Grove City, OH 43123




                                     Contract Order No. 50224
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Tosoh Usa Inc
PO Box 712368
Cincinnati, OH 45271-2368




                                   Contract Order No. 50224
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Sasol Germany Gmbh
Attn Accounting
Anckelmannsplatz 1
Postfach 60 23 05
Hamburg, D-22223
Germany




                                 Contract Order No. 50225
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Sasol Germany Gmbh
Inorganic Specialty Chemicals
Attn Dr Stefan Maedje
Anckelmannsplatz 1
Hamburg D 20537
Germany




                                      Contract Order No. 50225
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Sasol Vista Chemical
PO Box 910855
Dallas, TX 75391-0855




                                   Contract Order No. 50225
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Johnson Matthey Inc.
88 Dong Xing Road
Song Jiang Industrial Zone
Shanghai, 201613
China




                                    Contract Order No. 50226
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Johnson Matthey Alfa Aesar
30 Bond St
Ward Hill, MA 01835-8099




                                   Contract Order No. 50226
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Johnson Matthey Inc
PO Box 88848
Dept 110
Chicago, IL 60695-1848




                                   Contract Order No. 50226
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Johnson Matthey PLC
Precious Metals Marketing Division
2001 Nolte Dr
West Deptford, NJ 08066




                                      Contract Order No. 50226
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Johnson Matthey PLC
PO Box 88877
Dept 310
Chicago, IL 60695-1877




                                   Contract Order No. 50226
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NGK Automotive Ceramics USA Inc
119 Mazzeppa Rd
Mooresville, NC 28115




                                  Purchase Order No. 50028
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NGK Spark Plug Mfg Usa Inc
PO Box 2943
Charleston, WV 25330-2943




                                   Purchase Order No. 50028
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Denso International America Inc
Attn Carol Sowa
24777 Denso Dr
Southfield, MI 48033




                                        Contract Order No. 50084
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Denso International America Inc
PO Box 5133
Southfield, MI 48086-5133




                                        Contract Order No. 50084
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Denso International America Inc
PO Box 88812
Chicago, IL 60695-1812




                                        Contract Order No. 50084
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Corning Incorporated
Attn Corporate Secretary
One Riverfront Plz
Corning, NY 14831




                                    Contract Order No. 50186
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Corning Incorporated
Ron Rogers
50 W Big Beaver Rd
Troy, MI 48084




                                   Contract Order No. 50186
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Corning Incorporated
Ap 01 E8b
Corning, NY 14831




                                   Contract Order No. 50186
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Corning Incorporated
Attn Corporate Secretary
One Riverfront Plz
Corning, NY 14831




                                    Contract Order No. 50187
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Corning Incorporated
Ron Rogers
50 W Big Beaver Rd
Troy, MI 48084




                                   Contract Order No. 50187
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Corning Incorporated
Ap 01 E8b
Corning, NY 14831




                                   Contract Order No. 50187
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Corning Incorporated
Attn Corporate Secretary
One Riverfront Plz
Corning, NY 14831




                                    Contract Order No. 50188
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Corning Incorporated
Ron Rogers
50 W Big Beaver Rd
Troy, MI 48084




                                   Contract Order No. 50188
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Corning Incorporated
Ap 01 E8b
Corning, NY 14831




                                   Contract Order No. 50188
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Corning Incorporated
Attn Corporate Secretary
One Riverfront Plz
Corning, NY 14831




                                    Contract Order No. 50189
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Corning Incorporated
Ron Rogers
50 W Big Beaver Rd
Troy, MI 48084




                                   Contract Order No. 50189
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Corning Incorporated
Ap 01 E8b
Corning, NY 14831




                                   Contract Order No. 50189
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A 1 Specialized Services
2707 State Rd
Croydon, PA 19021-0270




           Platinum Group Metals Supply Agreement between Delphi Automotive Systems LLC and
                            A-1 Specialized Services dated December 1, 2004
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A 1 Specialized Services & Supplies Inc
PO Box 270
Croydon, PA 19021




            Platinum Group Metals Supply Agreement between Delphi Automotive Systems LLC and
                             A-1 Specialized Services dated December 1, 2004
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Impala Platinum Limited
Isle Of Houghton
3rd Fl Old Trafford 4
Boundary Rd
Houghton, 2198
South Africa




              Precious Metals Supply Agreement dated November 2004 between Impala Platinum
                                Limited and Delphi Automotive Systems, LLC
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W C Heraeus GmbH & co Kg
Heraeusstr 12 – 14
Hanau, 63450
Germany




          Bailment Agreement between Delphi Automotive Systems LLC and W.C. Heraeus GmbH
                                    & Co., KG dated July 1, 2003.
 05-44481-rdd     Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48           Main Document
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Impala Platinum Limited
Isle Of Houghton
3rd Fl Old Trafford 4
Boundary Rd
Houghton, 2198
South Africa




              Precious Metals Supply Agreement dated December 2000 between Impala Platinum
                               Limited and Delphi Automotive Systems, LLC.
 05-44481-rdd     Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48            Main Document
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Heraeus Chemicals Sa Pty
PO Box 1987
Port Elizabeth, 6000
South Africa




             Contract between Heraeus and Delphi Automotive Systems LLC dated July 24, 2004
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Heraeus Metal Processing Inc
c/o Jason J Dejonker Esq
Mcdermott Will & Emery Llp
227 W Monroe St
Chicago, IL 60606-5096




              Contract between Heraeus and Delphi Automotive Systems LLC dated July 24, 2004
 05-44481-rdd     Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48            Main Document
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Heraeus Metals Processing
PO Box 910468
Dallas, TX 75391-0468




             Contract between Heraeus and Delphi Automotive Systems LLC dated July 24, 2004
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Heraeus Metals Processing Inc
Formerly PGP Industries
13429 Alondra Blvd
Santa Fe, CA 90670




              Contract between Heraeus and Delphi Automotive Systems LLC dated July 24, 2004
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Heraeus Precious Metals Management LLC
540 Madison Avenu
New York, NY 10022




             Contract between Heraeus and Delphi Automotive Systems LLC dated July 24, 2004
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Johnson Matthey Inc.
88 Dong Xing Road
Song Jiang Industrial Zone
Shanghai, 201613
China




            Bailment Agreement made and entered into on October 29, 2004 by and between Delphi
                           Automotive Systems LLC and Johnson Matthey Inc
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Johnson Matthey Alfa Aesar
30 Bond St
Ward Hill, MA 01835-8099




            Bailment Agreement made and entered into on October 29, 2004 by and between Delphi
                           Automotive Systems LLC and Johnson Matthey Inc
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Johnson Matthey Inc
PO Box 88848
Dept 110
Chicago, IL 60695-1848




            Bailment Agreement made and entered into on October 29, 2004 by and between Delphi
                           Automotive Systems LLC and Johnson Matthey Inc
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Johnson Matthey Plc
Precious Metals Marketing Division
2001 Nolte Dr
West Deptford, NJ 08066




            Bailment Agreement made and entered into on October 29, 2004 by and between Delphi
                           Automotive Systems LLC and Johnson Matthey Inc
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Johnson Matthey Plc
PO Box 88877
Dept 310
Chicago, IL 60695-1877




            Bailment Agreement made and entered into on October 29, 2004 by and between Delphi
                           Automotive Systems LLC and Johnson Matthey Inc
 05-44481-rdd     Doc 8487       Filed 07/06/07 Entered 07/06/07 15:40:48               Main Document
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A 1 Specialized Services
2707 State Rd
Croydon, PA 19021-0270




                  Letter dated 9/16/02 from A-1 Specialized Services to Delphi Corporation.
 05-44481-rdd      Doc 8487       Filed 07/06/07 Entered 07/06/07 15:40:48               Main Document
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A 1 Specialized Services & Supplies Inc
PO Box 270
Croydon, PA 19021




                   Letter dated 9/16/02 from A-1 Specialized Services to Delphi Corporation.
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Sabin Metal Corporation
300 Pantigo Pl
Ste 102
East Hampton, NY 11937




                  Letter from Delphi Corporation dated October 23, 2002 to Sabin Metal.
 05-44481-rdd     Doc 8487     Filed 07/06/07 Entered 07/06/07 15:40:48          Main Document
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A 1 Specialized Services
2707 State Rd
Croydon, PA 19021-0270




           Platinum Group Metals Supply Agreement between Delphi Automotive Systems LLC and
                             A-1 Specialized Services dated October 20, 2006
 05-44481-rdd      Doc 8487      Filed 07/06/07 Entered 07/06/07 15:40:48         Main Document
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A 1 Specialized Services & Supplies Inc
PO Box 270
Croydon, PA 19021




            Platinum Group Metals Supply Agreement between Delphi Automotive Systems LLC and
                              A-1 Specialized Services dated October 20, 2006
